yay Neggevye
Case 1: Bh DUBS on Rte 53,2013 at

Subject; RE: Resume
To. V Kariuki <ygronie

 

Hi Veronica,

‘Thanks for the email, But however we are looking for Male Candidate ag this is an
Field Job,

Thanks & Regards,
‘Romar Nagdev

' « Technical Reeruiter
; | ‘eTeam Inc - “ACO

 

 

RATED HIRES"
| - Efficiency, Synergy, Expertise

 

 
 

>. From: V Kariuk! [mattba;yver :
Sent: Monday, August 05, 2013 12:18 PM
To: Kumar Nagdey
Subject: Resume

_ Sorry. Resume is attached now.
- VYVEARIUBT

 

 
 

~ EXHIBIT

A

 

 

 
